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(3-813) CCMC-1-220
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

The People of the Scare of Ulinois to all peace officers of the stare

SEARCH WARRANT

On this day P.O. Sergio Martinez #19512 ,Chicago Police Department, assigned to unit 189 (Narcotics) Area 2
Anti-violence Task Force and J. Dee, Complainants has subscribed and sworn to a complaint for search warrant before me.
Upon examination of the complaint, I find that it states facts sufficient to show probable cause.

I therefore command that you search.
“Mike” MBIk2S-30 yrs of age, approximately 6’00" Height. 230lbs, medium complexion.
and the premises:
The entire '* floor apartment of a multi-unit building located at 1021 W. 61” st, Chicago, IWinois, Cook County

and seize the following instruments, articles and things:
Crack (Cocaine) a controlled substance, any other controled substances, any documents showing residency, any
paraphernalia used in the weighing, cutting, ar mixing of illegal dcugs, any money, any records detailing illegal drug
transactions.

which have been used in the commission of, or which constitute evidence of the offense of:

Unlawful Possession of a Controlled Substance 720 ILCS 5'70/402

I furthes command that a retara of anything so seized shall be made without necessary delay before me ox before:
Judg . or before any camrt of competent jurisdiction.

JUDGE Judges No.

Date and time of issuance: 3:2 AA C- l 2 . sod fOr a

 
